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                Case 8:20-cr-00358-PX Document 1 Filed 10/21/20 Page 1 of U.S.DISTRICTCOURT
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               D      FDQQRWEHORFDWHGXSRQWKHH[HUFLVHRIGXHGLOLJHQFH

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               F      KDVEHHQSODFHGEH\RQGWKHMXULVGLFWLRQRIWKH&RXUW

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